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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

JERILEE BATISTA,

        Plaintiff,                                            CASE NO. 3:15-cv-1796

v.

P&B CAPITAL GROUP, LLC

      Defendant.
_____________________________________/

               PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW the Plaintiff, JERILEE BATISTA (“Plaintiff”), by and through her

attorneys, and for Plaintiff’s Complaint against Defendant, P&B CAPITAL GROUP, LLC

(“Defendant”) alleges and affirmatively states as follows:

                                        INTRODUCTION
        1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act,

15 U.S.C. 1692 et seq. (FDCPA).

        2.      Count II of the Plaintiff’s Complaint is based on Telephone Consumer Protection

Act, 28 U.S.C. § 227 et seq. (TCPA).

                                 JURISDICTION AND VENUE
        3.      Jurisdiction of this Court over Count I of Plaintiff’s Complaint arises pursuant to

15 U.S.C. 1692k(d), which states that such actions may be brought and heard before “any

appropriate United States district court without regard to the amount in controversy.”

        4.      Jurisdiction of this Court over Count II of Plaintiff’s Complaint arises pursuant to

28 U.S.C. § 1331.

        5.      Because Defendant conducts business in the State of Connecticut, personal

jurisdiction is established.




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        6.        Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                               PARTIES
        7.        Plaintiff is a natural person who resides in Bristol, Hartford County, Connecticut.

        8.        Plaintiff is informed, believes, and thereon alleges, that Defendant is a national

debt collection company with a business office in Buffalo, New York.

        9.        Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                     FACTUAL ALLEGATIONS
        10.       In or around 2014, Defendant began constantly and consistently placing telephone

calls to plaintiff in an attempt to collect an alleged debt.

        11.       Defendant places telephone calls to Plaintiff on Plaintiff’s cellular telephone at

860-655-30XX.

        12.       Defendant places telephone calls from numbers including, but not limited to507-

573-4061, 424-336-9911 and 571-386-2986.

        13.       Per its prior business practices, each collection call placed by Defendant to Plaintiff

was placed using an automatic telephone dialing system.

        14.       On or around December 8, 2014, at approximately 4:24 p.m., Plaintiff spoked with

Defendant’s representative “Eli” and requested that Defendant cease placing collection calls to

her cell phone.

        15.       Plaintiff revoked any consent, explicit, implied, or otherwise, for Defendant to call

her cellular telephone and/or to receive Defendant’s calls using an automatic telephone dialing

system during the telephone call on December 8, 2014.

        16.       Despite Plaintiff’s request to cease, Defendant placed at least twenty-three (23)

collection calls to Plaintiff.




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                              COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                    (FDCPA), 15 U.S.C. § 1692 et seq.

       17.     Defendant violated the FDCPA. Defendant’s violations include, but are not

limited to the following:

               a. Defendant violated § 1692d(5) of the FDCPA by causing a telephone to ring

                     repeatedly or continuously with intent to annoy, abuse, or harass Plaintiff.

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       18.     Statutory damages of $1,000.00 pursuant to the FDCPA, 15 U.S.C. 1692k;

       19.      Costs and reasonable attorney’s fees pursuant to the FDCPA, 15 U.S.C. 1692k;

               and

       20.     Any other relief that this court deems to be just and proper.

                            COUNT II
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

       21.     Defendant’s actions alleged supra constitute numerous negligent violations of the

               TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and

               every violation pursuant to 47 U.S.C. § 227(b)(3)(B).

       22.     Defendant’s actions alleged supra constitute numerous and multiple knowing

               and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in

               statutory damages for each and every violation pursuant to 47 U.S.C. §

               227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       23.     Statutory damages of $500.00 for each and every negligent violation of the TCPA



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                pursuant to 47 U.S.C. § (b)(3)(B);

        24.     Statutory damages of $1500.00 for each and every knowing and/or willful violation

                of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

        25.     All court costs, witness fees and other fees incurred; and

        26.     Any other relief that this Honorable Court deems appropriate.


                                              RESPECTFULLY SUBMITTED,


                                              By:/s/Jonathan Cohen
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                                              Attorney for Plaintiffs

                                 DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, JERILEE BATISTA, hereby demands trial by

jury in this action.




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